
ORDER
| ¡.Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel, and the letter fi*om respondent’s counsel advising that respondent *682does not oppose the entry of an order of interim suspension,
IT IS ORDERED that Daniel James Stanford, Louisiana Bar Roll number 22639, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
FOR THE COURT:
/s/ John L. Weimer Justice, Supreme Court Of Louisiana
